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i = ioe
Bank of America <>
Payslip-09_27_2024.pdf
Company Information
Name Address Phone
Bank of America, National Association Q on Now Tryon Street + (800) 556 6044
uite
Charlotte, NC 28202
United States of America
Payslip Information
Name © Employee ID Pay Period Begin Pay Period End Check Date ek
i| Hannah Rana 29504097 09/09/2024 09/22/2024 09/27/2024
Current and YTD Totals
Balance Period Gross Pay Pre Tax Deductions Employee Taxes | Post Tax Deductions Net Pay
Current 3,843.80 652.33 301.04 8.65 2,881.78]:
YTD 78,538.77 13,029.72 13,606.72 1,156.74 50,745.59
Earmings
Description Dates Hours Rate Amount YTD
Accr Stock Div Equivalent 50.45
“Backup Care Adv 09/09/2024 - 0.00 0.00 218.00 6,104.00
09/22/2024
Bereavement 1,070.64
Child Care Plus 09/09/2024 - 0.00 0.00 275.00 6,050.00
; 09/22/2024
:|*Dependent Care Taxable 09/09/2024 - 0.00 0.00 493.00 7,154.00
; 09/22/2024
:]*GTL Imputed 09/09/2024 - 0.00 0.00 4.18 82.76
09/22/2024
Holiday 2,821.44
Occasional Illness 09/09/2024 - 8.00 44.61 356.88 1,784.40
09/15/2024
Occasional Illness 345.68
Regular Earnings 09/09/2024 - 72.00 44.61 3,211.92 62,598.08
09/22/2024
RS Unit Vesting 1,395.20
Vacation Pay 2,419.76
Well Rewards 312
Total: 4,558.98 91,879.53
Employee Taxes
Description Amount YTD
:| Social Security 222.71 4,355.36
Medicare 52,08 1,018.59
Federal Withholding 26.25 8,232.77
; Total: 301.04 13,606.72
i Pre Tax Deductions
Description Amount YTD
i]AD&D Insurance 0.54 10.72
i Pre-tax 401(k) 178.44 3,552.00

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10/07/2024
Regular) - Complete Page 2 of 2
. Lay
Bankof America =>
Description Amount YTD “
Dental (Regular) 55.07 1,101.40
Health FSA 117.31 2,346.20
Medical (Regular) 292.24 5,844.80
Vision (Regular) 8.73 174.60
Total: 652.33 13,029.72 |
Post Tax Deductions
, Description Amount YTD
Child Life Insurance 0.53 10.60
GUOffsetWEL 2,20
Pre-Paid Legal Plan (Regular) 6.69 133.80
RSU Vest Net 981.54
Spouse/Partner Life Ins 1.43 _ 28.60
Total: 8.65 1,156.74
Taxable Wages
Description Amount YTD
OASDI - Taxable Wages 3,592.09 70,247.81
Medicare - Taxable Wages 3,592.09 70,247.81
Federal Withholding - Taxable Wages 3,413.65 66,695.81
Withholding
Description Federal Work State.
Marita! Status Married filing jointly (or Qualifying widow(er))
Allowances 0
Additional Withholding 0
Time Off
Description Accrued Reduced Available
US - Occasional Illness 3.08 8.00 66.48
Payment Information
Bank Account Name Account Number Amount in Pay Group Currency Gineney
Bank of America Hannah's Bank *****46620 2,881.78 USD
Total: 2,881.78

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Bankof America >
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Company Information
Name Address Phone
Bank of America, National Association g on Nort Tryon Street + (800) 556 6044
uite
Charlotte, NC 28202
United States of America
Payslip Information
Name Employee ID Pay Period Begin Pay Period End Check Date Nonber
Hannah Rana 29504097 08/26/2024 09/08/2024 09/13/2024
Current and YTD Totals
Balance.Period Gross Pay Pre Tax Deductions Employee Taxes ‘Post Tax Deductions Net Pay
Current 3,568.80 652.33 461.18 8.65 2,446.64
YTD 74,694.97 12,377.39 13,305.68 1,148.09 47,863.81
Earmings
Description Dates Hours Rate Amount YTD.
Accr Stock Div Equivalent 50.45
*Backup Care Adv 08/26/2024 - 0.00 0.00 1,308.00 5,886.00
09/08/2024
Bereavement 1,070.64
Child Care Plus §,775,00
“Dependent Care Taxable 08/26/2024 - 0.00 0.00 1,308.00 6,661.00
09/08/2024
*GTL Imputed 08/26/2024 - 0.00 0.00 4.18 78.58
09/08/2024
Holiday 08/26/2024 - 8.00 44.61 356.88 2,821.44
09/08/2024
Occasional IlIness 1,427.52
Occasional Illness 345.68
Regular Eamings 08/26/2024 - 72.00 44.61 3,211.92 59,386.16
09/08/2024
RS Unit Vesting 1,395.20
Vacation Pay 2,419.76
:7/Well Rewards / 3.12
Total: 6,188.98 87,320.55
Employee Taxes
Description Amount YTD .
Social Security 273.23 4,132.65
?| Medicare 63.90 966.51
:] Federal Withholding 124.05 8,206.52
Total: 461.18 13,305.68
Pre Tax Deductions
i . Description Amount YTD
AD&D Insurance 0.54 — 10.18
Pre-tax 401(k) 178.44 3,373.56
Dental (Regular) 55.07 1,046.33]:

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2 eS
Bankof America
Description Amount YTD
:[Health FSA 117.31 2,228.89
Medical (Regular) 292.24 §,552.56
Vision (Regular) 8.73 _ 165.87
Total: 652.33 12,377.39
Post Tax Deductions
Description Amount YTD
Child Life insurance 0.53 10.07
GUOffsetWEL 2.20
Pre-Paid Legal Plan (Regular) 6.69 127.11
RSU Vest Net 981.54
Spouse/Partner Life Ins 1.43 27.17
Total: 8:65 1,148.09
Taxable Wages
Description Amount YTD
OASDI - Taxable Wages 4,407.09 66,655.72
Medicare - Taxable Wages 4,407.09 66,655.72
Federal Withholding - Taxable Wages 4,228.65 63,282.16
Withholding
Description Federal Work State
Marital Status Married filing jointly (or Qualifying widow(er))
Allowances 0
Additional Withholding 0
Time Off
Description Accrued Reduced Available
US - Occasional Illness 3.08 0.00 71.40
Payment Information
; _ Pay-Group .
Bank Account Name Account Number Amount in Pay Group Currency Currency
Bank of America Hannah's Bank **ee**6620 2,446.64 USD
Total 2,446.64

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Bank of America
Payslip-10_25_2024 pdf
Company Information
Name Address Phone
Bank of America, National Association u 00 North Tryon Street + (800) 556 6044
uite 170
Charlotte, NC 28202
United States of America
! Payslip Information
Name Employee ID Pay Period Begin Pay Period End» . Check Dato a4 iheck
Hannah Rana 29504097 10/07/2024 10/20/2024 40/25/2024
Current and YTD Totals
Balance Period Gross Pay Pre Tax Deductions Employee Taxes | Post Tax Deductions ~ Net Pay
:| Current 4,118.80 652.33 412.45 8.65 3,045.37
?/YTD 87,051.37 14,334.38 14,566.44 1,174.04 56,976.51
Earnings
- Deseription ~ Dates Hours || Rate “Amount YTD
Acer Stock Div Equivalent 50.45
*Backup Care Adv 10/07/2024 - 0.00 0.00 510.00 7,535.00
10/20/2024
Bereavement 1,070.64
Child Care Plus 10/07/2024 - 0.00 0.00 550.00 7,425.00
; 10/20/2024
i/*Dependent Care Taxable 10/07/2024 - 0.00 0.00 1,060.00 9,960.00
i 10/20/2024
:]*GTL Imputed 10/07/2024 - 0.00 0.00 4.18 91.12
10/20/2024
Holiday 10/07/2024 - 8.00 44.61 356.88 3,178.32
10/20/2024
?/ Occasional! lliness 2,141.28
Occasional Illness 345.68
Regular Earnings 10/07/2024 - 72.00 44.61 3,211.92 69,021.92
: 10/20/2024
RS Unit Vesting 1,395.20
Vacation Pay 2,419.76
Well Rewards / . 3.12
Total: 5,692.98: 104,637.49
Employee Taxes
: Description Amount YTD.
Social Security 257.86 4,913.62
Medicare 60.30 1,149.15}:
Federal Withholding 94.29 8,503.67 |:
Total 412.45 14,566.44
Pre Tax Deductions
Description _ Amount ey YTD -
AD&D Insurance 0.54 11.80
Pre-tax 401(k) 178.44 3,908.88 i

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ee
Bankof America >
Description Amount ‘YTD
Dental (Regular) §5.07 4,211.54
Health FSA 117.31 2,580.82
Medical (Regular) 292,24 6,429.28
Vision (Regular) _ 8.73. 192.06
Total: 652.33 14,334.38
Post Tax Deductions
Description Amount _ YTD"
Child Life Insurance 0.53 11.66
GUOffsetWEL 2.20
Pre-Paid Legal Pian (Regular) 6.69 147.18
RSU Vest Net 981.54
Spouse/Partner Life Ins 1.43 31.46
Total 8.65 1,174.04
Taxable Wages
Description Amount... YTD’
OASDI - Taxable Wages 4,159.09 79,251.99
Medicare - Taxable Wages 4,159.09 79,251.99
Federal Withholding - Taxable Wages 3,980.65 75,343.11
Withholding
Description Federal os ~~ Work State
Marital Status Married filing jointly (or Qualifying widow(er))
Allowances 0
Additional Withholding 0
Time Off
. Description Accrued Reduced Available
US - Occasional Illness 3.08 0.00 64.64
Payment Information
Bank Account Name Account Number Amount in Pay Group Currency Strency
Bank of America Hannah's Bank = ******6620 3,045.37 USD
Total: 3,045.37

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Payslip: Hannah Leath: 10/06/2024 (US "
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Regular) - Complete Page 1 of 2
s ea
Bankof America
Payslip-10_11_2024.pdf
i Company Information
Name Address Phone
i Bank of America, National Association 100 North Tryon Street + (800) 556 6044
: Suite 170
Charlotte, NC 28202
United States of America
i Payslip Information
Name Employee ID ‘Pay Period Begin Pay- Period Enid ‘Check Date oT nek.
i Hannah Rana 29504097 09/23/2024 10/06/2024 10/11/2024
Current and YTD Totals
Balance Period Gross Pay Pre Tax Deductions | Employee Taxes. | Post Tax Deductions - io Net Pay
Current 4,393.80 652.33 547.27 8.65 3,185.55
YTD 82,932.57 13,682.05 14,153.99 1,165.39 53,931.14
: Earnings
Description Dates Hours .| Rate Amount 2 YTD
Acer Stock Div Equivalent 50.45
:|*Backup Care Adv 09/23/2024 - 0.00 0.00 921.00 7,025.00
10/06/2024
Bereavement 1,070.64
Child Care Plus 09/23/2024 - 0.00 0.00 825.00 6,875.00
10/06/2024
*Dependent Care Taxable 09/23/2024 - 0.00 0.00 1,746.00 8,900.00
10/06/2024
*GTL Imputed 09/23/2024 - 0.00 0.00 4.18 86.94
10/06/2024
Holiday 2,821.44
Occasional Illness 09/30/2024 - 8.00 44.61 356.88 2,141.28
; 10/06/2024
}/ Occasional Illness 345.68
:} Regular Earnings 09/23/2024 - 72.00 44.61 3,217.92 65,810.00
10/06/2024
RS Unit Vesting 1,395.20
Vacation Pay 2,419.76
Well Rewards a 312
Total: 7,064.98. '98:944.51
Employee Taxes
Description “Amount YTD - oe
Social! Security 300.40 4,655.76
Medicare 70.26 1,088.85
Federal Withholding 176.61 8,409.38
Total: 547.27 14,153.99
:Pre Tax Deductions
Description — Amount “YTD ©. =.
i] AD&D insurance 0.54 11.26
i Pre-tax 401(k) 178.44 3,730.44

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Payslip: Hannah Leath: 10/06/2024 (US 11/18/2024
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>. aS
Bank of America
Description ‘Amount YTD
Dental (Regular) 55.07 1,156.47
Health FSA 117.31 2,463.51
Medical (Regular) 292.24 6,137.04
Vision (Regular) - (873 183.33
i Total: 652.33 13,682.05
Post Tax Deductions
. Description Amount - oe . “YTD
Child Life Insurance 0.53 11.13
GUOffsetWEL 2.20
Pre-Paid Legal Plan (Regular) 6.69 140.49
RSU Vest Net 981.54
Spouse/Partner Life Ins 1.43 _ 30.03
Total 8.65 1,155.39
: Taxable Wages
‘Description . ~~ Amount ce oe YTD .
OASDI - Taxable Wages 4,845.09 75,092.90
i| Medicare - Taxable Wages 4,845.09 75,092.90
i[ Federal Withholding - Taxable Wages 4,666.65 71,362.46
Withholding
: Description : z Federal - | Work State”
:| Marital Status Married filing jointly (or Qualifying widow(er))
:} Allowances 0 0
Additional Withholding 0
i Time Off
i Description Accrued Reduced , Available
US - Occasional IiIness 3.08 8.00 61.56
Payment Information
Bank Account Name Account Number - Amount in Pay Group Currency Ginence
i] Bank of America Hannah's Bank = ******6620 3,185.55 USD
Total 3,185.55

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